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                      Exhibit 2
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                EASTERN DIVISION

Protect Our Parks, Inc.; Charlotte Adelman;          )
Maria Valencia and Jeremiah Jurevis;                 )       No. 18-cv-03424
              Plaintiffs,                            )
v.                                                   )       Honorable John Robert Blakey
                                                     )
Chicago Park District and City of Chicago,           )       Jury Demanded
             Defendants.                             )



     PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO CITY OF CHICAGO

       Now come the Plaintiffs, Protect Our Parks, Inc.; Charlotte Adelman; Maria Valencia and

Jeremiah Jurevis, through their undersigned attorneys, and pursuant to Rule 33 of the Federal

Rules of Civil Procedure request that the Defendant, City of Chicago, answer the following

Interrogatories within 30 days from service of this Plaintiffs’ First Set Of Interrogatories To City

Of Chicago.


                                         DEFINITIONS

       The term "person" refers to both natural persons and to corporate or other business

entities, whether or not in the employ of the City of Chicago.
       To "identify a person" means to state the person's name, business address and telephone

number and, additionally, in the case of a natural person, his home address, employer, present

occupation, job title and telephone number.

       “You” or “yours” shall mean the City of Chicago.




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                                      INTERROGATORIES


       1.        Identify by name, title, address and telephone number, all persons answering these

interrogatories.

ANSWER:


       2.        Identify all evidence you intend to introduce at any hearing or trial in this case,

including but not limited to the names, addresses and last known addresses of all witnesses, the

expected testimony of such witnesses and a description of all documents you intend to present

into evidence.


ANSWER:

       3.        Identify each person whom you believe has knowledge regarding the allegations

contained in Plaintiff’s Complaint, or your Answer and Affirmative Defenses to the Complaint,

and state the nature, scope and extent of each such person’s knowledge.

ANSWER:

       4.        Identify each person, including each and every expert or potential expert, that you

have contacted regarding any of the matters that are or may be at issue based upon any of the

allegations or defenses included in the Plaintiff’s Complaint or your Answer and Affirmative

Defenses to the Complaint, and, with respect to each such person:


   a. Identify and describe the nature, scope and extent of each such person’s knowledge;

   b. Identify each opinion, comment and/or communication made by or to that person

       regarding any of the matters that are or may be at issue in this litigation;

   c. State the basis for each such opinion and/or communication referenced in subpart b

       hereof;


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   d. If that person is expected to testify in this matter, sate the substance of that person’s

      testimony;

   e. Identify all written reports or memoranda which that person prepared in connection with

      this case;

   f. Attach to your interrogatory answers copies of any written reports prepared in connection

      with this case;

   g. For all matters in which such person has given testimony in the last 10 years, identify the

      case name, case number, court where the action was/is pending, and the substance of that

      person's testimony and opinions; and

   h. Identify all articles, books, literature and other publications or papers on which that

      person will rely in connection with this case.


ANSWER:


                                             Respectfully submitted,

                                             /s/ Mark D. Roth
                                                 Mark D. Roth




Roth Fioretti, LLC
Mark Roth
Robert Fioretti
311 S. Wacker Drive
Suite 2470
Chicago, IL 60606
Phone: (312) 922-6262
Fax: (312) 922-7747
Email: mark@rothfioretti.com
rwfchicago@yahoo.com



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                                   PROOF OF SERVICE

        I, Mark Roth, an attorney, certify that I served the Plaintiffs’ First Set Of

Interrogatories To City Of Chicago by email transmission from mark@rothfioretti.com to the

following persons at their email addresses shown below on or before 5:00 pm. on October 23,

2018.




 Richard W. Burke, -
 Burke, Warren, MacKay & Serritella, P.C.
 330 North Wabash Avenue
 22nd Floor
                                                                     Chicago Park District
 Chicago, IL 60611-3607                              representing
                                                                     (Defendant)
 (312) 840-7000
 Voluntary Withdraw (fax)
 rburkesr@burkelaw.com



 John Lawrence Hendricks
 City Of Chicago Department Of Law
 30 North Lasalle St, Suite 1230
 Chicago, IL 60602                                                   City Of Chicago
                                                     representing
 (312) 744-6975                                                      (Defendant)
 Not a member (fax)
 john.hendricks@cityofchicago.org



 Susan M. Horner
 Burke Warren MacKay & Serritella
 330 N. Wabash Ave.
 22nd Floor
 Chicago, IL 60611
 312 840 7000
 Delinquent (fax)
 shorner@burkelaw.com



 Elizabeth Meyer Pall                                                Chicago Park District
                                                     representing
 Burke, Warren, Mackay & Serritella, P.c.                            (Defendant)

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330 N. Wabash
Suite 2100
Chicago, IL 60611
(312) 840-7099
Not a member (fax)
epall@burkelaw.com



Joseph P. Roddy
Burke, Warren, MacKay & Serritella, P.C.
330 N. Wabash Avenue,
22nd Floor
Chicago, IL 60611
(312) 840-7000
Active (fax)
jroddy@burkelaw.com




Justin Tresnowski
City of Chicago Department of Law
Constitutional and Commercial Litigation Division
30 N. LaSalle Street
Suite 1230                                                         City Of Chicago
                                                    representing
Chicago, IL 60602                                                  (Defendant)
(312) 744-4216
Not a member (fax)
jtresnowski@gmail.com



Andrew W Worseck
City of Chicago, Department of Law
30 North LaSalle Street
Suite 1230
Chicago, IL 60602
(312) 744-7129
Active (fax)
aworseck@cityofchicago.org




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                                                  /s/Mark Roth
                                                     Mark Roth

Mark Roth
Roth Fioretti LLC
Attorney No. 37547
311 S. Wacker, STE 2470
Chicago, Illinois 60606
(312) 922-6262
mark@rothfioretti.com




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